 Case: 1:12-cv-05746 Document #: 739-2 Filed: 01/23/20 Page 1 of 9 PageID #:24362




                                SETTLEMENT AGREEMENT


       This Settlement Agreement (“Agreement”) is made and entered into by and among
Objectors-Appellants, Evan Shelton, Timothy Johnson and Mark Dunlap (“Objectors”), Class
Counsel, and Defendants, Carnival Corporation & PLC, NCL (Bahamas) Ltd. and Royal
Caribbean Cruises, Ltd., (“Cruise Lines”). The terms of this Agreement are as follows:

       WHEREAS, Plaintiff, Phil Charvat, requested the Honorable Andrea R. Wood of the
United States District Court for the Northern District of Illinois to approve the Class Settlement in
the matter of Charvat v. Valente, et al., Case No. 12-05746 (N.D. Ill.) on October 3, 2018. [DE
682; 683] (“Valente Class Action”).

       WHEREAS, Objectors each subsequently filed objections to the Class Settlement on
November 3, 2017 and November 6, 2017, which did not address residual funds to be paid to the
Settlement Class after the initial distribution of the Net Settlement Funds. [DE 606; 607].

        WHEREAS, the Objectors filed memoranda prior to the fairness hearing, which addressed
a concern that after the initial round of class settlement checks had been distributed and cashed, a
second round should be distributed according to the Class Action Settlement, but the economic
and administrative feasibility threshold for the second round of payments should be lowered from
$5.00 to $2.50 (“Administrative Feasibility Amount”) to provide a further benefit to the Settlement
Class. [DE 672 p. 1; 691 p. 1].

        WHEREAS, on October 30, 2018 the Court held a fairness hearing in the above referenced
class action matter at which time Class Counsel argued the fairness of the Class Action Settlement
and Objectors appeared and argued, among other things, that the Administrative Feasibility
Amount to provide a greater economic benefit to the class.

       WHEREAS, on October 28, 2019, the Court entered a Memorandum Opinion approving
the Class Action Settlement, which denied Objectors’ objections to the Class Settlement and
denying in part Plaintiff’s Motion for Incentive Award. [DE 727].

        WHEREAS, the Court entered a Final Order of Dismissal and Final Judgment on
November 4, 2019, after granting Plaintiff’s Motion for final approval of the class action
settlement, and denying the Objections of Shelton, Johnson and Dunlap and denying in part
Plaintiff’s Motion for Incentive Award. [DE 730].

       WHEREAS, neither the Memorandum Opinion nor the Final Judgment specifically
addressed the Administrative Feasibility Amount. [DE 727, 730].

       WHEREAS, subsequent to the entry of the Final Judgment, Objectors each filed a notice
of appeal, which has now been consolidated by the Seventh Circuit Court of Appeal in Evan
Shelton et al., v Elizabeth Valente, et al., Case Nos. 19-3280, 19-3291 (7th Cir.) (“Objector
Appeal”).


                                                  1
                                               Exhibit 2
 Case: 1:12-cv-05746 Document #: 739-2 Filed: 01/23/20 Page 2 of 9 PageID #:24363




        WHEREAS, after the Objectors filed their notices of appeal and before initial appellate
briefs are due to be filed, the parties entered into discussions to identify and potentially attempt to
resolve the Objectors’ grounds for appeal.

       WHEREAS, the Parties desire to amicably, fully, and finally resolve the aforementioned
Objector Appeal to the benefit of the Settlement Class;
         NOW, THEREFORE, it is therefore stipulated, consented to and agreed, by and among
the Parties as follows:

       1.    Recitals. All of the above statements are incorporated herein and made a part of
this Agreement as if set forth fully herein, including any and all definitions.
       2.      Complete Resolution. It is the intent of this Agreement if approved by the District
Court to resolve fully and forever, any and all of Objectors’ objections that were raised or could
have been raised in the Valente Class Action.
        3.      Consideration. In consideration of the actions and payments described below, the
Parties agree that this Agreement is supported by good and valuable consideration, the receipt of
and adequacy of which has been acknowledged.

       4.      Contingent Settlement Terms. The Objectors, Class Counsel and the Cruise Lines
have agreed to resolve the Objector Appeal on the following terms:

              A.      Contemporaneously upon execution of this Agreement, Objectors, Class
       Counsel and the Cruise Lines shall file a Joint Motion for Indicative Ruling to seek court
       approval to effectuate this settlement pursuant to Federal Rules of Civil Procedure
       23(e)(5)(B)(i) and 62.1, as follows:

                      (i) That the Court lower the threshold Administrative Feasibility Amount
               addressed in section 8.4 of the Class Action Settlement Agreement and Release and
               in paragraph 13(e) of the Final Order of Dismissal and Final Judgment from $5.00
               to $2.50 to enhance the economic benefit of the net Class Action Settlement to the
               Settlement Class. [DE 569-1, § 8.4; DE 730 ¶ 13(e)]; and

                      (ii) Approve a payment of $25,000 to Objector Shelton and Johnson’s
               counsel, Jonathan Hilton, Hilton Parker LLC, and $25,000 to Objector Mark
               Dunlap’s counsel, Lacy, Price and Wagner, P.C., in connection with fees, costs and
               expenses incurred in connection with the appeal and to preserve the relevant issues
               for appeal in the District Court.

               B.      For purposes of section 4(A)(ii) above, Class Counsel will pay their portion
       of the total Agreement funds to Objectors from the funds awarded to them by the Court in
       the Memorandum Opinion and Final Order of Dismissal and Final Judgment and not from
       the Class Net Settlement Fund. The Cruise Lines shall contribute the remainder of the funds
       referenced above directly to Objectors’ counsel and not from the Class Net Settlement
       funds.


                                                   2
                                                Exhibit 2
 Case: 1:12-cv-05746 Document #: 739-2 Filed: 01/23/20 Page 3 of 9 PageID #:24364




               C.     The Objectors will file a motion in the appellate court to stay and/or for
       extension of time to file their initial briefs to allow time to obtain an indicative ruling from
       the District Court and to advise the Seventh Circuit Court of Appeal of the indicative ruling
       pursuant to Federal Rule of Civil Procedure 62.1. This stay and/or extension of time is
       intended to avoid the unnecessary the expense of briefing while the parties seek approval
       of this Settlement and the payment to Objectors and Objector’s counsel under Rule 23. All
       parties to this Agreement agree that the stay/extension of time should be sought as
       expeditiously as possible and contemporaneously with the Motion for Indicative Ruling.
       The Motion should be approved by all parties prior to filing.

               D. If the District Court issues an indicative ruling that Judge Wood would grant
       the Joint Motion for Indicative Ruling to effectuate this Agreement pursuant to Federal
       Rule of Civil Procedure 62.1, Class Counsel, the Cruise Lines and Objectors will advise
       the United States Court of Appeals for the Seventh Circuit as soon as practicable after the
       ruling. Class Counsel, the Cruise Lines and Objectors will also move for a limited remand
       for the purposes of approving the Agreement.

              E.     Within one day of an order approving this Agreement, the Objectors shall
       provide Class Counsel and the Cruise Lines with a draft Stipulation of Withdrawal of the
       Appeal with prejudice and waive all appellate rights (“Appeal Withdrawal”).

               F.      If the District Court approves the Agreement, Class Counsel shall provide
       an Amended Final Order of Dismissal and Final Judgment reflecting the revised threshold
       for the Administrative Feasibility Amount discussed above that will be entered by the
       District Court.

               G.     Neither Class Counsel nor the Cruise Lines shall have any obligation to
       make any of the payments set forth above unless and until (i) the District Court approves
       of the Agreement after remand pursuant to Federal Rules of Civil Procedure 23(e)(5)(B)(i)
       and 62.1 and (ii) the Appeal Withdrawal is executed and filed. Thus, no payments will be
       due to Objectors if the District Court does not accept and approve the terms of this
       Agreement.

        5.       Release. Except for the rights, duties, and obligations set forth in this Agreement,
Objectors hereby absolutely, fully, and forever release, relieve, waive, relinquish, and discharge
Plaintiff in the Action, the certified Settlement Class, Class Counsel, and the Cruise Lines and their
counsel of and from any and all causes of action, suits, liabilities, now, heretofore existing at law
or in equity, whether known or unknown, asserted or unasserted, arising out of or relating to the
Action, Objection, Class Action Settlement Objection, Appeal, or Claims. Nothing in this
paragraph shall be construed to prevent Objectors from pursuing their appeals if the Agreement is
not approved by the District Court.

       6.      If the District Court approves the Agreement, Objectors Shelton, Johnson and
Dunlap and their counsel agree not to further object, appeal, or cooperate with any other person
interposing such an objection or appeal in the Action.



                                                  3
                                               Exhibit 2
 Case: 1:12-cv-05746 Document #: 739-2 Filed: 01/23/20 Page 4 of 9 PageID #:24365




       7.     Except as otherwise set forth in this Agreement, the parties shall be responsible for
their own attorneys’ fees and costs. Nothing in this paragraph shall be construed to prohibit
Objectors from seeking attorneys’ fees and costs if this Agreement is not approved by the District
Court.

       8.      Objectors have made and rely on their own investigations, research and analyses.

       9.      This Agreement shall be governed by Florida law.

       10.     No provision of this Agreement may be amended, waived, discharged or terminated
except in writing by all parties.

       11.     This Agreement contains the entire agreement between and among the Parties.

       12.     A dispute concerning this Agreement shall be resolved via binding arbitration under
the JAMS Arbitration rules The prevailing party shall be entitled to its reasonable expenses,
including attorney fees and costs, as part of any arbitration award. Nothing in this paragraph shall
be construed to prohibit Objectors from appealing an order by the District Court rejecting this
Agreement.

        13.     The parties acknowledge that: (a) they have read the entire Stipulation; (b) they
have obtained the legal advice and counsel they deem necessary; (c) they fully understand the
Agreement; and (d) all persons signing below are duly authorized to execute this Agreement on
behalf of the respective party.

       14.     This Stipulation may be executed in counter-parts or by fax or email.

       IN WITNESS WHEREOF, each party has executed this Agreement on the dates written
below and this Agreement shall be effective on the latest such date.


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                                              Exhibit 2
Case: 1:12-cv-05746 Document #: 739-2 Filed: 01/23/20 Page 5 of 9 PageID #:24366




                                     Exhibit 2
Case: 1:12-cv-05746 Document #: 739-2 Filed: 01/23/20 Page 6 of 9 PageID #:24367




                                     Exhibit 2
Case: 1:12-cv-05746 Document #: 739-2 Filed: 01/23/20 Page 7 of 9 PageID #:24368




                                     Exhibit 2
Case: 1:12-cv-05746 Document #: 739-2 Filed: 01/23/20 Page 8 of 9 PageID #:24369




                                     Exhibit 2
Case: 1:12-cv-05746 Document #: 739-2 Filed: 01/23/20 Page 9 of 9 PageID #:24370




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